   Case 2:05-cr-00186-CJB-SS    Document 59   Filed 11/08/05   Page 1 of 19




                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                           CRIMINAL ACTION

VERSUS                                             NO: 05-186

KERRY DECAY, ET AL                                 SECTION: "J"(1)

                           ORDER AND REASONS

     Before the Court is the Government’s Motion to Disqualify

Counsel.   Rec. Doc. 33.       The Government seeks to disqualify

Arthur Lemann, III and Michael Ellis as counsel for Kerry DeCay

and Reginald Walker, respectively, arguing that these attorneys’

former representation of two Government witnesses – Howard Moses

in the case of Lemann and William Pappas in the case of Ellis –

has created an actual conflict of interest which the prior

clients have not waived.       The Government supplemented the motion

alleging an additional conflict due to the fact that Michael

Ellis’ partner, Julian Murray, currently represents Randall

Moore, a defendant in a related criminal case who will also be a

prosecution witness in the instant case.         Defense counsel oppose
   Case 2:05-cr-00186-CJB-SS   Document 59   Filed 11/08/05   Page 2 of 19




the motion, arguing that there is no conflict, that defendants

are willing to waive any conflict that would prejudice them, and

in Mr. Walker’s case, that Mr. Ellis will not cross-examine Mr.

Pappas, and he waives any appellate issue with respect to the

failure to cross-examine Mr. Pappas.

     The Court heard oral argument on the motion on August 3,

2005, and subsequently ordered the Government to file, in camera

and under seal, transcripts of the witnesses’ grand jury

testimony, transcripts of the witnesses’ interviews with the

Government or any of its agents, and any debriefing notes or

notes of other interviews with the witnesses by August 15, 2005.

By the same date, Mr. Ellis and Mr. Lemann were ordered to file,

in camera and under seal, any notes of interviews with the former

clients in question, either taken by themselves or members of

their firm, and if those were unavailable, affidavits of the

interviewing attorney’s best recollection of the contents of the

conversations with the witnesses in question.1          Having


     1
      Defense counsel has suggested that the Court’s procedure in
requiring the submission of the listed materials – the only
method the Court can conceive of to categorically resolve the
question whether the prior representation creates a non-waivable
conflict in this case – is improper because the in camera
disclosure to the Court results in a waiver of the attorney-
client privilege. To the contrary, numerous courts have required
the in camera submission of privileged materials for a variety of
reasons, chief among them determining whether a privilege exists.
See, e.g., United States v. Zolin, 491 U.S. 554 (1989)(in camera
review required to determine if crime-fraud exception applies;

                                    2
   Case 2:05-cr-00186-CJB-SS   Document 59   Filed 11/08/05   Page 3 of 19




exhaustively reviewed all the materials submitted, and having

considered the indictment in detail, the Court finds that

attorneys Lemann and Ellis have neither a conflict nor a serious

potential of a conflict that could not be waived, and the

Government’s motion must therefore be denied.

                               BACKGROUND

     On June 16, 2005, the Government filed a 37-page indictment

against DeCay and Walker and two other defendants.            The

indictment alleges, inter alia, illegal acts by the defendants in

connection with three contracts between the City of New Orleans

and Johnson Controls.     The objective of the contracts was to

increase energy efficiency through the replacement and upgrading

of fixtures and equipment such as chillers, boilers, light

fixtures, light bulbs, window tinting, and controls.            As a result

of the replacements and upgrades, the City was supposed to

achieve energy savings that would pay for all of the costs



United States v. Nixon, 94 S. Ct. 3090 (1974)(in camera
inspection required to determine if executive privilege applies);
United States v. Parker, 586 F.2d 422 (5th Cir. 1978)(in camera
review to determine existence of attorney-client privilege);
Lasker v. Stevens Graphics Corp., 1994 WL 389467 (N.D. Tex. Apr.
29, 1994)(same); see also, Paul R. Rice, The Eroding Concept of
Confidentiality Should Be Abolished, 47 DUKE L.J. 853, 898 n. 100
(1998)(collecting cases). In at least one case, the trial court
ordered the in camera submission of the same materials ordered
herein for the same reason – to resolve the question whether
multiple representation created a conflict. See, United States
v. Morrell-Corrada, 343 F. Supp.2d 80 (D. Puerto Rico, 2004).

                                    3
   Case 2:05-cr-00186-CJB-SS   Document 59     Filed 11/08/05   Page 4 of 19




associated with the contracts.      The savings failed to materialize

and the City ended up having to pay $3.2          million each year,

which it paid with funds borrowed by the sale of bonds.

     According to the indictment, DeCay, on behalf of the City of

New Orleans, oversaw much of the work done by Johnson Controls,

and negotiated Phases II and III of the City’s agreements with

Johnson Controls.    Walker owned and operated Moss Creek

Development Company, which entered into a subcontract with

Johnson Controls.    Among other things, the indictment alleges

that the defendants conspired to defraud the City by causing the

City to overpay Johnson Controls in order to divert a portion of

the overpayments to themselves.

     The Government contends that a conflict of interest is

present because it will be relying in part on the testimony of

Moses and Pappas to convict DeCay and Walker, so “[i]f Mr. Lemann

and Mr. Ellis stay in the case ignoring their loyalty to their

former clients, any conviction of their current clients would be

subject to post-conviction attack.”          Rec. Doc. 33 at 3.       Further,

the Government argues that Randall Moore “will be providing

direct evidence of the payment of kickbacks to Mr. Ellis’

client’s co-defendant as part of the overall conspiracy charged

against all of these defendants.”       While the Government’s motion

is not explicit as to whether it seeks to preempt prejudice to

                                    4
   Case 2:05-cr-00186-CJB-SS   Document 59   Filed 11/08/05   Page 5 of 19




the former clients or the current clients, its preoccupation with

the attorneys’ duty of loyalty to Pappas and Moses, the problem

of Pappas and Moses being cross-examined by their former

attorneys, and the Government’s insistence that a knowing and

intelligent waiver by the defendants would not obviate the

conflict, all indicate that the motion seeks to preserve the

rights of the former clients and the integrity of the

proceedings.   Nevertheless, the Court’s analysis herein also

considers the possibility of prejudice to Mr. Lemann’s and Mr.

Ellis’s current clients.

                               DISCUSSION

     The Sixth Amendment guarantees that “in all criminal

prosecutions the accused shall enjoy the right . . . to have the

Assistance of Counsel for his defence.”        Moreover, “the right to

select and be represented by one's preferred attorney is

comprehended by the Sixth Amendment.”        Wheat v. United States,

486 U.S. 153, 159 (1988).      However, the right is not absolute:

the presumption in favor of a defendant’s counsel of his choice

“may be overcome not only by a demonstration of actual conflict

but by a showing of serious potential for conflict.”            Id. at 164.

This is because notwithstanding the guarantees of the Sixth

Amendment, “[f]ederal courts have an independent interest in

ensuring that criminal trials are conducted within the ethical

                                    5
   Case 2:05-cr-00186-CJB-SS   Document 59   Filed 11/08/05   Page 6 of 19




standards of the profession and that legal proceedings appear

fair to all who observe them.”      Id. at 160.     “Whether and when

the defendant's right must yield to that higher interest is

committed to the sound discretion of [the trial court].”             United

States v. Morris, 785 F. Supp. 1238, 1240 (N.D. Tex. 1992)(citing

United States v. Kitchin, 592 F.2d 900, 903 (5th Cir.), cert.

denied, 444 U.S. 843 (1979).

     Applying Wheat, “[w]hen an issue of conflict of interest

arises, the Court must first determine whether an actual or

potential conflict exists.      If such a conflict exists, the Court

must ensure that the conflict is either eliminated or waived.                If

the conflict cannot be eliminated or waived, the attorney must be

disqualified.”   U.S. v. Edwards,       39 F. Supp. 2d 716, 743 (M.D.

La. 1999).2   The Court’s first task then, is to determine

whether an actual or potential conflict exists.

     In considering whether a conflict exists which would warrant

disqualification, courts look to state and national ethical

standards adopted by the court.      Babineaux v. Foster, 2005 WL

711604, *1 (E.D. La. Mar. 21, 2005)(citing FDIC v. United States


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      It should be borne in mind, however, that our case is
distinguishable from Wheat and (and other situations in which
Fed. R. Crim. P. 44 would apply) in that our case does not
involve dual representation – that is, it is not a situation
involving “two or more defendants [who] have been charged jointly
... or have been joined for trial.” Fed. R. Crim. P. 44(c)(1)(A).

                                    6
   Case 2:05-cr-00186-CJB-SS   Document 59   Filed 11/08/05   Page 7 of 19




Fire Ins. Co., 50 F.3d 1304, 1311-12 (5th Cir. 1995).           These

rules apply in disqualification motions brought in criminal as

well as civil cases.    Perillo v. Johnson, 205 F.3d 775, 801 (5th

Cir. 2000).    Accordingly, the instant motion must be resolved

with reference to the Local Rules for the Eastern District of

Louisiana, the American Bar Association Model Rules of

Professional Conduct (“ABA Model Rules”), and the Louisiana Rules

of Professional Conduct.       Babineaux, 2005 WL 711604 at *1 (citing

Horaist v. Doctor's Hosp. of Opelousas, 255 F.3d 261, 266 (5th

Cir. 2001)).   The task is simplified by the fact that the Eastern

District of Louisiana has adopted the State of Louisiana's Rules

of Professional Conduct, which are identical to the ABA Model

Rules in all respects relevant to this motion.          See, L.R.

83.2.4E, La. State Bar Art. XVI, ABA Model Rules of Professional

Conduct.

     As numerous district courts have recognized, the party

seeking disqualification bears the burden of proving a conflict.

See, e.g., Babineaux, 2005 WL 711604, *2; Parker v. Rowan

Companies, Inc., 2003 WL 22208569, *8 (E.D. La. Sept. 23, 2003);

Cramer v. Sabine Transp. Co., 141 F. Supp. 2d 727, 730 (S.D. Tex.

2001).   Moreover, “[a] disqualification inquiry, particularly

when instigated by an opponent, presents a palpable risk of

unfairly denying a party the counsel of his choosing.            Therefore,

                                     7
   Case 2:05-cr-00186-CJB-SS   Document 59   Filed 11/08/05   Page 8 of 19




notwithstanding the fundamental importance of safeguarding

popular confidence in the integrity of the legal system, attorney

disqualification . . . is a sanction that must not be imposed

cavalierly.”   F.D.I.C. v. U.S. Fire Ins. Co., 50 F.3d 1304, 1316

(5th Cir. 1995).

Conflicts affecting former clients

     Rule 1.9 of the Louisiana Rules of Professional Conduct,

concerning a lawyer’s duty to former clients, provides that “[a]

lawyer who has formerly represented a client in a matter shall

not thereafter represent another person in the same or a

substantially related matter in which that person's interests are

materially adverse to the interests of the former client unless

the former client gives informed consent, confirmed in writing.”

Moreover,

     [a] lawyer who has formerly represented a client in a
     matter or whose present or former firm has formerly
     represented a client in a matter shall not thereafter:

     (1) use information relating to the representation to
     the disadvantage of the former client except as the[]
     Rules would permit or require with respect to a client,
     or when the information has become generally known; or

     (2) reveal information relating to the representation
     except as these Rules would permit or require with
     respect to a client.

     In addition to professional conduct rules, courts in this

circuit have also employed a “substantial relationship” test to


                                    8
   Case 2:05-cr-00186-CJB-SS   Document 59   Filed 11/08/05    Page 9 of 19




guide the conflict inquiry.      Under that test, “[a] party seeking

to disqualify counsel . . . need not prove that the past and

present matters are so similar that a lawyer's continued

involvement threatens to taint the trial.         Rather, the former

client must demonstrate that the two matters are substantially

related.”   Edwards, 39 F. Supp. 2d at 734, citing In re American

Airlines, Inc.,972 F.2d 605, 616 (5th Cir. 1992).             Edwards went

on to opine that a substantial relationship "may be found only

after the moving party delineates with specificity the subject

matters, issues and causes of action common to prior and current

representations and the court engages in a 'painstaking analysis

of the facts and precise application of precedent.’" Id. at 734

(quoting American Airlines, 972 F.2d 605).

Conflicts affecting current clients

     With respect to conflicts affecting current clients, Rule

1.7 of the Louisiana Rules of Professional Conduct provides that:

     a lawyer shall not represent a client if the
     representation involves a concurrent conflict of
     interest. A concurrent conflict of interest exists if:

     (1) the representation of one client will be directly
     adverse to another client; or

     (2) there is a significant risk that the representation
     of one or more clients will be materially limited by
     the lawyer's responsibilities to another client, a
     former client or a third person or by a personal
     interest of the lawyer.


                                    9
   Case 2:05-cr-00186-CJB-SS   Document 59   Filed 11/08/05   Page 10 of 19




     In addition to the professional conduct rules, jurisprudence

examining conflicts in the specific context of criminal cases has

held that a conflict exists when “counsel's allegiance to the

accused   [would be] compromised by competing obligations owed to

other clients.”    Perillo v. Johnson, 205 F.3d 775, 798 (5th Cir.

2000)(other citations omitted).       The Fifth Circuit has recognized

that a competing obligation may be present when “an attorney has

confidential information that is helpful to one client but

harmful to another.”     Id. (citing United States v. Placente, 81

F.3d 555, 559 (5th Cir. 1996)(collecting cases).          The Fifth

Circuit has also “relied upon the relationship between the

subject matter of the multiple representations when determining

whether counsel was burdened by an actual conflict.”            Id., citing

Russell v. Lynaugh, 892 F.2d 1205, 1214 (5th Cir. 1989)(other

citations omitted).     Also considered is “the temporal

relationship between the prior and subsequent representations.

Where the prior representation has not unambiguously been

terminated, or is followed closely by the subsequent

representation, there is more likely to be a conflict arising

from defense counsel's representation of the first client.”              Id.

(citations omitted).     “Where, on the other hand, defense

counsel's prior representation unambiguously terminated before

the second representation began, the possibility that defense

                                    10
   Case 2:05-cr-00186-CJB-SS   Document 59    Filed 11/08/05   Page 11 of 19




counsel's continuing obligation to his former client will impede

his representation of his current client is generally much

lower.”    Id. at 798-99 citing Vega v. Johnson, 149 F.3d 354 (5th

Cir. 1998), cert. denied, 525 U.S. 1119 (1999).

        The Fifth Circuit “has also relied upon the character and

extent of the prior representation.          Where the prior

representation involved a formal and substantial attorney-client

relationship, a finding of actual conflict is more likely.”               Id.

at 799 (citations omitted).      “Where, however, defense counsel's

involvement in the prior representation was either transient or

insubstantial, [the court has] been less inclined to find an

actual conflict.”    Id. (citations omitted).         “Thus, whether the

facts of a particular case give rise to an actual conflict

depends, not so much upon the label used to define the attorney's

conflict, as upon these and any other factors that illuminate

whether the character and extensiveness of the prior

representation were such that counsel is prevented ‘by his

interest in another's welfare from vigorously promoting the

welfare of his [current] client.’”       Id. (citing Vega, 149 F.3d at

360).    In addition, the “substantial relationship” test may also

be applied in examining conflicts affecting current clients.                   Id.

at 800 (citing In re American Airlines, 972 F2d 605, 614-16 (5th

Cir. 1992)).

                                    11
   Case 2:05-cr-00186-CJB-SS   Document 59   Filed 11/08/05   Page 12 of 19




     Applying these rules and precedents, the undersigned has

determined that in the instant case, no actual or potential

conflict is present that would prejudice either the former or

current clients of Lemann and Ellis.

Arthur Lemann, III’s representation of Howard Moses and Kerry
DeCay.

     It is undisputed that Lemann’s son, a member of Lemann’s

firm, represented Howard Moses when he was interviewed by the FBI

about his contract for consulting relative to the Johnson

Controls contract at issue in the indictment.          The Government

contends that it is inconceivable that Lemann’s office did not

have further privileged conversations in connection with this

representation, and that Lemann will be required to cross-examine

Moses and explore those privileged matters, resulting in a

violation of Lemann’s duty of loyalty to his former client,

Howard Moses.

     The Court recognizes that “[t]he law presumes that a lawyer

receives confidential communications in the course of his

representation of a client.”      United States v. Morris, 785 F.

Supp. 1238, 1240 (citing United States v. Shepard, 675 F.2d 977,

980 (8th Cir. 1982); United States v. Cheshire, 707 F. Supp. 235,

239 (M.D. La. 1989).     Nevertheless, this presumption may be

rebutted; for instance, when a defense attorney represents the


                                    12
   Case 2:05-cr-00186-CJB-SS   Document 59   Filed 11/08/05   Page 13 of 19




former client/witness in preliminary matters only and credibly

denies that he gained any confidences from the witness during the

representation.    Id.   In Morris, the trial judge found that the

attorney the Government wished to have disqualified due to prior

representation of prosecution witness, as “one of its officers

and subject to severe discipline for prevarication, [informed the

court] that he possessed no confidences” from the former

client/witness.    Id.   The court was persuaded that the attorney’s

assertions were credible, and therefore found no actual conflict

of interest.   Id.

     In the present case, the Court has gone beyond Mr. Lemann’s

representations and has reviewed in camera Mr. Lemann’s office

file generated during its prior representation of Moses, Moses’

grand jury testimony, and the notes of Government interviews with

him, as well as the indictment against DeCay, and has concluded

that DeCay’s interests are not materially adverse to Moses’

interests.    As pointed out by defense counsel, Moses is neither a

victim in the indictment, a co-defendant, a co-conspirator, an

unindicted co-conspirator, a participant, or a witness to any of

the alleged criminal transactions that DeCay is alleged to have

engaged in.    In fact, Moses is not referred to in the indictment

at all.   Moreover, the materials submitted in camera do not

suggest that DeCay’s defense would be buttressed by eliciting any

                                    13
   Case 2:05-cr-00186-CJB-SS   Document 59   Filed 11/08/05   Page 14 of 19




testimony from Moses that could prejudice Moses, and Lemann’s

office file on Harold Moses does not reveal any information that

could be used to Moses’ disadvantage.3        Thus, the Court finds

that Lemann has successfully rebutted the presumption that he is

in possession of confidences that would create an actual

conflict, or likely give rise to a potential conflict, that would

affect Moses.    Put simply, it does appear that Lemann’s

allegiance to Moses is or could be compromised by any competing

obligation owed to DeCay.

     Similarly, the Court has determined that Lemann’s

responsibility to DeCay will not be materially limited by his

firm’s prior representation of Moses; that the prior

representation has been unambiguously terminated; and that

Lemann’s firm’s brief representation of Moses in connection with

the FBI questioning was, relatively speaking, transient and

insubstantial.    Accordingly, the Government has also failed to

demonstrate that an actual or potential conflict exists that

would compromise Lemann’s obligation to DeCay, so he need not be

disqualified from that representation.

Michael Ellis’ representation of William Pappas and Reginald
Walker.


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      Because of the privileged and confidential nature of the
submissions, the Court does not quote directly from them in this
order.

                                    14
   Case 2:05-cr-00186-CJB-SS   Document 59   Filed 11/08/05   Page 15 of 19




     Ellis represented Pappas in connection with a 2002

conviction for committing mail fraud against the City of New

Orleans.   According to the Government, Pappas will be testifying

regarding bribes given to DeCay in an effort to secure city

contracts and Johnson Controls work through DeCay.            Thus, the

Government argues, Ellis will be unable to cross-examine his

former client, because doing so would require him to exploit the

confidences of his former client to benefit his current one.

Ellis has responded that the public record reflects the fact that

no conflict exists since the Pappas and Walker matters are

entirely unrelated.     Walker has further agreed that Ellis will

not cross-examine Pappas, if he is called as a witness, and

Walker has voluntarily, knowingly, and intelligently waived any

ineffective assistance of counsel claims for purposes of appeal

for failure to cross-examine.

     The Court acknowledges that if Ellis were seeking to

represent DeCay, he would have a problem:         since Pappas will be

testifying to bribes he allegedly gave DeCay, their interests

would be materially adverse.      However, Ellis does not seek to

represent DeCay, but Reginald Walker, and as noted by the

defense, the Pappas case did not refer to any City employees

except for Wallace Schief, and neither Walker, Walker’s company


                                    15
   Case 2:05-cr-00186-CJB-SS   Document 59   Filed 11/08/05   Page 16 of 19




Moss Creek, nor Johnson Controls were mentioned or implicated in

Pappas’ indictment.     Rather, the evidence submitted reflects that

Walker had never met Pappas or the principals or employees of

Energy Management Services.      Thus, no confidences regarding

Walker were shared by Pappas with Ellis during the course of the

prior representation.     In addition, Walker was indicted 22 months

after the Pappas matter was concluded.

     These facts, together with the contents of the in camera

submissions (especially Pappas’ grand jury testimony) indicate

that Pappas’ interests are in no way materially adverse to

Reginald Walker’s.     There appears to be no relationship between

the two representations, much less a substantial one.             As a

result, it simply does not appear that Ellis’ allegiance to

Pappas is or could be compromised by any competing obligation

owed to Walker.

     Nor does it appear that Ellis’ representation of Walker

would be materially limited by his former representation of

Pappas.   As already noted, the subject matters of the

representations are unrelated.       Moreover, the prior

representation has been unambiguously terminated and was

terminated 22 months prior to the indictment herein.

Accordingly, the Government has also failed to demonstrate that

an actual or potential conflict exists that would compromise

                                    16
   Case 2:05-cr-00186-CJB-SS   Document 59   Filed 11/08/05   Page 17 of 19




Ellis’ obligation to Walker, so he need not be disqualified from

that representation.

Julian Murray’s representation of Randall Moore

     As noted above, the Government supplemented its original

motion with a memorandum arguing that an additional reason to

disqualify Ellis exists because Ellis’ law partner, Julian

Murray, currently represents a witness in this case, which was

later learned to be Randall Moore.

     “While lawyers are associated in a firm, none of them shall

knowingly represent a client when any one of them practicing

alone would be prohibited from doing so” by the rules governing

duties to former and current clients.        Louisiana Rule of

Profession Conduct 1.10.       Thus, Murray’s representation of Moore

is imputed to Ellis for purposes of the conflicts analysis.

Ellis may thus be viewed as concurrently representing both Moore

and Walker, after having previously represented Pappas.

     As a threshold matter, it appears to the Court that any

conflict problem this created would require the disqualification

of Murray, the later retained attorney, rather than Ellis.              In

addition, the Court notes that the Government’s memorandum is

concerned only with whether Murray’s representation of Moore

conflicts with Ellis’ representation of Walker – that is, whether

Moore’s interests are materially adverse to Walker’s.             However,

                                    17
   Case 2:05-cr-00186-CJB-SS   Document 59   Filed 11/08/05   Page 18 of 19




the representation also raises the question of whether Moore’s

interests are materially adverse to Pappas’ interests.

     Nevertheless, the same rationale supporting the finding that

Ellis’ successive representations of Pappas and Walker would not

result in a conflict applies to the Moore/Walker representation:

Moore’s testimony appears to be materially adverse to DeCay, but

not to Walker.    Further, there appears to be no connexity at all

between Moore and Pappas.      Moore has been indicted in a separate

case, 05-236, pending in another section of this court.             While

the Government argues that Moore will be giving direct evidence

of the payment of kickbacks to Mr. Ellis’ client’s co-defendant

(DeCay) as part of the overall conspiracy, once again, neither

Ellis (nor Murray) seeks to represent DeCay.          The Court has

carefully reviewed Moore’s grand jury testimony and the notes of

Government interviews with him, and it simply does not appear

that his interests are materially adverse to Pappas’ or Walker’s;

nor does it appear that Ellis’ former client, Pappas would be

disadvantaged by any information possessed by Moore.            Similarly,

there is no support for the conclusion that Ellis’ representation

of Walker would be materially limited by Murray’s representation

of Moore, and vice versa.      In sum, it simply does not appear that

Ellis’ duty of loyalty to his current or former clients is

affected at all by Murray’s representation of Randall Moore.

                                    18
   Case 2:05-cr-00186-CJB-SS   Document 59   Filed 11/08/05   Page 19 of 19




     Accordingly, for the foregoing reasons, the Government’s

Motion to Disqualify Counsel (Rec. Doc. 33) should be and is

hereby DENIED.

                                    7th day of November, 2005.
     New Orleans, Louisiana, this ______




                                         ____________________________
                                         CARL J. BARBIER
                                         UNITED STATES DISTRICT JUDGE




                                    19
